72 F.3d 123
    Ken J. Pezrow Corp.v.James T. Karabasz, Mildred Karabasz, Cheyne Company, Gross,McGinley, Labarre &amp; Eaton, Malcolm J. Gross, Esq., Paul A.McGinley, Esq., Donald L. Labarre, Jr., Esq., J. JacksonEaton, III, Esq., Michael A. Henry, Esq., Patrick J. Reilly, Esq.
    NO. 95-1239
    United States Court of Appeals,Third Circuit.
    Nov 28, 1995
    Appeal From:  E.D.Pa., No. 94-cv-02669
    
      1
      REVERSED.
    
    